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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK



In re TERRORIST ATTACKS ON                            Case No. 1:03-md-01570-GBD-SN
SEPTEMBER 11, 2001


This document relates to:

The Underwriting Members of Lloyd’s
Syndicate 2, et al. v. Al Rajhi Bank, et al., No.
16-cv-7853; Aguilar, et al. v. Kingdom of
Saudi Arabia, et al., No. 16-cv-09663;
Addesso, et al. v. Kingdom of Saudi Arabia, et
al., No. 16-cv-09937; Hodges, et al. v.
Kingdom of Saudi Arabia, et al., No. 17-cv-
0117; Aiken, et al. v. Kingdom of Saudi Arabia,
et al., No. 17-cv-00450; Charter Oak Fire
Insurance Co., et al. v. Al Rajhi Bank, et al.,
No. 17-cv-02651; Abarca, et al., v. Kingdom of
Saudi Arabia, et al., No. 17-cv-03887;
Arrowood Indemnity Co., et al. v. Kingdom of
Saudi Arabia, et al., No. 17-cv-03908; and
Abedhajajreh, et al., v. Kingdom of Saudi
Arabia, et al., No. 17-cv-06123.



            [PROPOSED] ORDER GRANTING PRO HAC VICE ADMISSION

       The Motion of Matthew S. Leddicotte for admission to practice Pro Hac Vice before this

Court in the above-captioned cases is GRANTED. Matthew S. Leddicotte has declared that he is

a member in good standing of the bar of the District of Columbia; and that his contact

information is as follows:

       Matthew S. Leddicotte
       White & Case LLP
       701 Thirteenth Street, NW
       Washington, DC 20005
       Telephone: +1 202 626 3600
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       mleddicotte@whitecase.com
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       Matthew S. Leddicotte having requested admission Pro Hac Vice to appear for all

purposes as counsel for Al Rajhi Bank in the above-captioned actions;

       IT IS HEREBY ORDERED that Matthew S. Leddicotte is admitted to practice Pro Hac

Vice in the above-captioned case in the United States District Court for the Southern District of

New York. All attorneys appearing before this Court are subject to the Local Rules of this

Court, including the Rules governing discipline of attorneys. Counsel shall immediately forward

the Pro Hac Vice fee to the Clerk of Court.




                                                          Sarah Netburn
                                                          United States Magistrate Judge




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